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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al. 1                         )        Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )        Jointly Administered

                              REPORT OF SALE FOR 6300 W.
                       LAYTON AVENUE, GREENFIELD, WI 53202 AND
                    CERTAIN PERSONAL PROPERTY LOCATED THEREON

          Deborah J. Caruso, the chapter 7 trustee in this case (the “Trustee”), by counsel, pursuant

 to Rule 6004(f)(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 reports as follows:

          1.       On March 23, 2018, the Court entered its Order Granting Trustee’s Motion to Sell

 Real Estate Located in Greenfield, Wisconsin, and Certain Personal Property Located Thereon,

 Free and Clear of All Liens, Encumbrances, Claims and Interests with a Prospective Purchaser

 Identified But Bids Considered (the “Sale Order”) [Doc 2472], authorizing the Trustee to sell real

 estate located at 6300 W. Layton Avenue, Greenfield, WI 53220 (the “Real Estate”) and certain

 personal property located on the Real Estate (the “Personal Property”) to the Milwaukee Area

 Joint Apprenticeship & Training Committee for the Electrical Industry (the “Purchaser”) for the

 total purchase price of $1,475,000.00 ($1,250,000.00 for the Real Estate and $225,000.00 for the

 Personal Property), free and clear of all liens, encumbrances, claims and interests.

          2.       On July 13, 2018, the sale of the Real Estate and Personal Property was

 completed, realizing gross sale proceeds of $1,475,000.00. Attached and incorporated as Exhibit

 1 is the Seller’s Statement (the “Closing Statement”).


 1
  The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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        3.      As reflected in the Closing Statement, the following was paid at closing:

                (a)     $48,613.63 in delinquent personal property taxes;

                (b)     $76.85 for prorated sewer fees;

                (c)     $362.14 for prorated water fees;

                (d)     $24,375.00 to A&G Realty Partners, LLC for commissions;

                (e)     $29,250.00 to Tiger Capital Group, LLC for commissions;

                (f)     $208,574.63 in delinquent real estate taxes; and

                (g)     $1,895.00 in other closing cost.

        4.      The Trustee has received the remaining net proceeds from the sale of the Real

 Estate and Personal Property in the sum of $1,031,852.75, in addition to the earnest deposit of

 $130,000.00. Such funds have been deposited into the Affiliated Debtors’ bankruptcy estates’

 financial account.

        5.      Pursuant to the Notice, Case Management and Administrative Procedures (the

 “Case Management Procedures”) approved by the Court on October 4, 2016 [Doc 220], the

 Trustee will serve a copy of this report on the following (as defined in the Case Management

 Procedures): (a) the Core Group; (b) the Request for Notice List; and (c) the Appearance List.

        6.      The Trustee requests that this report be exempt from the notice and hearing

 requirements under the Case Management Procedures and the requested relief be granted without

 further notice or hearing.

        WHEREFORE, the Trustee respectfully requests entry of an order approving this report,

 approving the payments set forth herein, and granting the Trustee all other just and proper relief.




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                                                      Respectfully submitted,
                                                      RUBIN & LEVIN, P.C.
                                                  By: /s/ Meredith R. Theisen
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                                                      John C. Hoard (Atty. No. 8024-49)
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                                                      Attorneys for Deborah J. Caruso, Trustee

                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 16, 2018, a copy of the foregoing Report of Sale for 6300 W.
 Layton Avenue, Greenfield, WI 53202 and Certain Personal Property Located Thereon was filed
 electronically. Pursuant to Section IV.C.3(a) of the Case Management Procedures, notice of this
 filing will be sent to the following parties through the Court’s Electronic Case Filing System.
 Parties may access this filing through the Court’s system.

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        I further certify that on July 16, 2018, pursuant to Section IV.C.3(c) of the Case
 Management Procedures, a copy of the foregoing Report of Sale for 6300 W. Layton Avenue,
 Greenfield, WI 53202 and Certain Personal Property Located Thereon was emailed to the
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